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 1                                                                       Hon. Ricardo S. Martinez

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 5
                              UNITED STATES DISTRICT COURT
 6                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
 7
                                                     No. CR 19 – 203 RSM
     UNITED STATES OF AMERICA,
 8
           Plaintiff,                                ORDER GRANTING DEFENDANT’S
 9                                                   MOTION FOR VIDEO PLEA HEARING
           v.
10
     LUIS MANUEL RIVERA-LERIGET,
11
           Defendant.
12

13         The Court having considered Defendant’s motion for a video plea hearing, and, being

14   fully advised, the motion is hereby GRANTED.

15         IT IS THEREFORE ORDERED: A video plea hearing before this Court is set for

16   September 29, 2020 at 11:00 a.m.

17         DATED this 23rd day of September, 2020.

18

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20
                                               A
                                               RICARDO S. MARTINEZ
                                               CHIEF UNITED STATES DISTRICT JUDGE

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23
      ORDER GRANTING DEFENDANT’S MOTION FOR                               LAW OFFICES OF STEPHAN R. ILLA, P.S.
24    VIDEO PLEA HEARING – 1                                                                 P.O. BOX 10033
                                                                              BAINBRIDGE ISLAND, WA 98110
                                                                                            (206) 817-4142
